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                                November 21, 2023


                     To the Eleventh Circuit Court of Appeals


              Baughcum et al. v. Jackson, et al., Appeal 22-13444-AA

     LETTER BRIEF OF JUDGES JACKSON, MARTIN AND SPIRES

Dear Clerk:

      I am counsel of record for the Probate Judge Defendants in the referenced
case, i.e., Judges Jackson, Martin and Spires.


      Pursuant to Fed. R. App. P. 28(j), I call to the Court’s attention Swann v.
Secretary of State, 668 F.3d 1285 (11th Cir. 2012), which both sides discussed at
oral argument. Swann rejects a futility exception to the standing requirement, a
holding that directly refutes the Plaintiffs’ argument that they have standing against
the Probate Judges despite Plaintiffs’ lack of any application for a weapon license.
Likewise, Swann rejects standing where the claim is based solely on hypothetical
Defendant conduct that never occurred.


      In fact, the plaintiff in Swann did more than the Plaintiffs in this case. The
Swann plaintiff actually submitted an application and there was an actual response
from the defendant. By contrast, here no Plaintiff submitted anything, and
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consequently no Probate Judge even had the capability to take any action relevant
to this case.

       We respectfully requst the Court to consider Swann in its eventual ruling.

                                Very truly yours,

                                WILLIAMS & WAYMIRE, LLC


                                /s Jason C. Waymire



                      CERTIFICATE OF COMPLIANCE

       Counsel certifies that this letter brief complies with the type-volume

limitation set forth in F.R.A.P. 32(a) (7) (B). This brief contains 169 words, based

on a count by commercial software.


                          CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the within and

foregoing LETTER BRIEF upon all parties by electronic filing with the Eleventh

Circuit Court of Appeals, which will provide an electronic copy to all counsel who

have appeared.


       This 21 day of November, 2023.

                                  /s/ Jason Waymire
                                  JASON WAYMIRE
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       Christopher Baughcum, Jr., et al. v. Genola Jackson, et al.
                         No. 22-13444-AA
         CERTIFICATE OF INTERESTED PERSONS AND
           CORPORATE DISCLOSURE STATEMENT

        Undersigned counsel for Defendant/Appellees Jackson, Martin and

 Spires hereby certifies that the following persons and entities may have an

 interest in the outcome of this case:


 1.     Association County Commissioners of Georgia-Interlocal Risk

        Management Agency (ACCG-IRMA), insurer for Probate Judge

        Defendants;

 2.     Baughcum, Christopher Jr., Plaintiff/Appellant

 3.     Bergstrom, William V., Counsel for Plaintiffs/Appellants

 4.     Bowen, Hon. Dudley H., United States District Judge

 5.     Burton, Beth, Deputy Attorney General, Counsel for

        Defendant/Appellee Chris Wright

 6.     Carr, Christopher M., Attorney General, Counsel for

        Defendant/Appellee Chris Wright

 7.     Cooper & Kirk, PLLC, Counsel for Plaintiffs/Appellants

 8.     County Reinsurance, LTD, reinsurer for insurer ACCG-IRMA;

 9.     Epps, Hon. Brian K., United States Magistrate Judge

 10.    Firearms Policy Coalition, Inc., Plaintiff/Appellant




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 11.    Gore, Deborah Nolan, Assistant Attorney General, Counsel for

        Defendant/Appellee Chris Wright

 12.    Jackson, Genola, Defendant/Appellee

 13.    John Monroe Law, P.C., Counsel for Plaintiffs/Appellants

 14.    Long, Sophie, Defendant/Appellee

 15.    Martin, Kathryn B., Defendant/Appellee

 16.    Meyers, Zane, Plaintiff/Appellant

 17.    Monroe, John R., Counsel for Plaintiffs/Appellants

 18.    Patterson, Peter A., Counsel for Plaintiffs/Appellants

 19.    Piper, Tina, Senior Assistant Attorney General, Counsel for

        Defendant/Appellee Chris Wright

 20.    Spires, Janice D., Defendant/Appellee

 21.    Thompson, David H., Counsel for Plaintiffs/Appellants

 22.    Waymire, Jason C., Counsel for Defendants/Appellees Jackson,

        Spires, and Martin

 23.    Williams, Terry      of Williams    Morris    & Waymire,       LLC     –

        Defendants/Appellees Jackson, Spires, and Martin

 24.    Williams, Morris & Waymire, LLC, Counsel for

        Defendants/Appellees Jackson, Spires, and Martin




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 25.    Wright, Chris, Defendant/Appellee

        I am not aware that any publicly traded company or corporation has

 an interest in the outcome of this case or appeal.

                                               /s/ Jason Waymire
                                               Jason Waymire




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